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                                                                     Gar y M. Lawkowsk i
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                                          June 14, 2024

Lyle W. Cayce
U.S. Court of Appeals for The Fifth Circuit
600 S. Maestri Place
Suite 115
New Orleans, LA 70130

       RE: Rule 28(j) Letter in National Association for Gun Rights, et al. v. Garland, et al.,
       Case No. 23-11138

Dear Clerk Cayce;

        Consistent with Rule 28(j) of the Federal Rules of Appellate Procedure and Local Rule
28.4, Plaintiff-Appellees write to provide notice of supplemental authority relevant to this case.
On June 14, 2024, the U.S. Supreme Court issued a decision affirming the judgment of this Court
in Garland v. Cargill, Case No. 22-976 (U.S. June 14, 2024). A copy of the decision is attached.

         The Supreme Court’s decision is relevant because it weighs directly on a central question
in this case: the meaning of the statutory phrase “single function of the trigger.”

       Thank you very much for your time.


                                                     Sincerely,

                                                     /s/Gary M. Lawkowski
                                                     Gary M. Lawkowski




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